CASE 0:20-cv-02157-JRT-DTS   Doc. 554-1   Filed 04/09/25   Page 1 of 4




              EXHIBIT 1
    CASE 0:20-cv-02157-JRT-DTS                        Doc. 554-1             Filed 04/09/25              Page 2 of 4


From:            Rachel Scobie
To:              Daniel I. Konieczny
Cc:              Kyle A. Cooper; Ryan Muhlstock; Christopher D. Liguori; Joe Dubis, Ph.D.; Anneliese Mayer; Elisabeth (Bette)
                 Muirhead
Subject:         RE: Friday status conference
Date:            Tuesday, April 1, 2025 8:19:52 AM
Attachments:     image001.png



Dan,

Apologies for not responding sooner. I was tied up yesterday afternoon and evening.

To clarify, Anderson is but one example of many where courts have addressed the proper
course when a party’s testifying expert becomes unavailable to serve in that capacity after
serving expert reports and before trial. While not frequent, these situations are also not all that
uncommon. Sometimes it is due to death, sometimes mental or physical incapacitation, and
sometimes other reasons.

When substitutions become contested in these situations it is usually because the party who
has lost their original expert seeks to replace them with someone new who is going to start
over and do a new analysis. In that instance, the other party often claims they would be
prejudiced by the possible change in scope of the opinions offered. Typically, such disputes
are resolved with the court requiring that the replacement expert’s opinion have the same
scope as the original expert’s opinion.

Your suggestion that Schwan’s start over, therefore, is odd. In Anderson, the expert was
serving in his individual capacity and, therefore, there was no other person who had been
involved in the work that could step in to fill his shoes. Here, however, the opinions were
developed by a team (as is common with forensic or damages experts) and there are other
members of that team who are qualified to serve as the testifying expert in their own right.
Based on ample precedent pertaining to expert substitution, our proposal to replace Mark
Lanterman with another expert who was involved in the work leading to the opinions expressed
in the original report, who holds the same opinions expressed in the original report, and who is
available to serve as a testifying expert in this case should be the most unobjectionable course
of action. It places the lowest burden on all parties and allows the case to stay on schedule as
the opinions offered remain unchanged.

Schwan’s seeks to proceed consistent with the abundant precedent governing these
situations and to avoid any added delay or cost associated with Mark Lanterman’s
unavailability. Consistent with that, we do not think it makes sense to push off the status
conference with the Court. However, if after reviewing the case law on expert substitution
Conagra decides to withdraw its objection, then please let us know as a status conference
would likely no longer be necessary.

Best,
                                                                    CASE 0:20-cv-02157-JRT-DTS                                                                                                                                                                                                                                              Doc. 554-1   Filed 04/09/25   Page 3 of 4


Rachel




From: Daniel I. Konieczny <DKonieczny@TDRLAW.com>
Sent: Monday, March 31, 2025 7:58 PM
To: Rachel Scobie <rscobie@merchantgould.com>
Cc: Kyle A. Cooper <kcooper@TDRLAWFIRM.com>; Ryan Muhlstock <RMuhlstock@TDRLAW.com>;
Christopher D. Liguori <CLiguori@TDRLAW.com>
Subject: Re: Friday status conference

CAUTION - External.
Rach el, If Sch wa n’s see ks to pro cee d as i n And erso n, ple ase make a pro po sal, and w e w ill con sid er it. In An ders on, th e C ou rt gra nted leave to su bm it an in dep en den tly prep are d e xpert rep ort fro m a n ind ep end en t exp ert. The Co urt also lim ite d th e sc op e o f the rep la cem ent op in ion t




CG BAN NE RIND IC ATO R




Rachel,

If Schwan’s seeks to proceed as in Anderson, please make a proposal, and we will
consider it. In Anderson, the Court granted leave to submit an independently prepared
expert report from an independent expert. The Court also limited the scope of the
replacement opinion to the original report and ordered the party replacing the expert to
pay a portion of the costs of a replacement rebuttal report.

We are willing to meet and confer, but I am traveling and truly unavailable to discuss this
with you before Friday.

As for the hearing, Schwan’s demanded it as soon as possible solely due to Schwan’s’
desire to swap out Mark Lanterman and swap in his son, Sean, for deposition on April 16.
As stated previously, we will not agree to depose Sean Lanterman on April 16. Why don’t
we ask the court to postpone the hearing until the following week to provide the parties
time to meet and confer, with the understanding that we will not depose anyone on April
16?

Dan



From: Rachel Scobie <rscobie@merchantgould.com>
Date: Monday, March 31, 2025 at 4:09 PM
To: Daniel I. Konieczny <DKonieczny@TDRLAW.com>
Subject: Friday status conference

CAUTION: External email
      CASE 0:20-cv-02157-JRT-DTS                                 Doc. 554-1              Filed 04/09/25               Page 4 of 4


Dan,

I left you a more detailed voicemail about our request to substitute in Sean Lanterman as our
testifying expert in this case. If you want to further discuss to see whether we can come to
some resolution that avoids the need for the status conference on Friday, please feel free to
call my office or cell (both numbers below). The only thing of substance that I think got cut off
in my message was the cite to the case law I referenced. I was going to reference the attached
as but one example of many cases where the Court has allowed substitution in the event of a
testifying expert’s unavailability.

Best,
Rachel

Rachel Scobie
Partner
Merchant & Gould P.C.
150 South Fifth Street
Suite 2200
Minneapolis, MN 55402-4247
USA

Telephone (612) 336-4667
Mobile (612) 306-9081
Fax (612) 332-9081
merchantgould.com
BIO
Assistant: Jasmine D. Brower | jbrower@merchantgould.com | (612) 336-4635

PROUDLY CELEBRATING 125 YEARS OF INNOVATION AND CLIENT SUCCESS
GUARDIANS OF GREAT IDEAS®
Note: This email message is confidential and may be privileged or otherwise protected by law. If you are not the intended recipient,
please: (1) reply via email to the sender; (2) destroy this communication entirely, including deletion of all associated text files from all
individual and network storage devices; and (3) refrain from copying or disseminating this communication by any means whatsoever.
Operating as Merchant & Gould, LLP, in California.
Please consider the environment before printing this email. Thank you.
